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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KENNETH J. WILLIAMS,

Plaintiff, 16 Civ. 2188 (AEK)
- against ~

C. NOELL, et al., ORDER

Defendants.

 

 

ANDREW E. KRAUSE, U.S.M.J.!

The Court received a letter dated October 15, 2020 from counsel requesting that the
deadline for depositions be extended for 60 days, to be completed by December 15, 2020. Dkt. #
111, The request for an extension is granted. As the prior deadline for the completion of all
discovery has passed, the parties are directed to submit a proposed revised scheduling order by
November 16, 2020. This proposed order should contain proposed deadlines for al! remaining

discovery in this matter.

Dated: October 40 , 2020
White Plains, New York

SO ORDERED,

(a Ao

Andrew E. Krause
United States Magistrate Judge

 

'This case was reassigned to the undersigned on October 15, 2020.

 
